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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                   CASE NO. 19-24153-CV-JLK
 LISA GUARINO


        Plaintiff,
 v.


 a Liberian corporation, d/b/a
 ROYAL CARIBBEAN INTERNATIONAL,
        Defendant
 __________________________________/


            ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION FOR
      STAY, ENLARGEMENT OF PRE-TRIAL DEADLINES AND CONTINUANCE



        THIS MATTER having come before the Court upon the Defendant ROYAL CARIBBEAN
 CRUISES LTD.’s Unopposed Motion for a forty-five (45) day stay of all proceedings and discovery,
 continuance of all deadlines and trial and the Court having reviewed the file and being otherwise
 duly advised in the premised, it is

        ORDERED AND ADJUDGED that Defendant’s Unopposed Motion is GRANTED. All
 discovery and proceedings in this matter are hereby stayed for forty-five (45) days from the date of
 this order and all pretrial deadlines are hereby continued by forty-five (45) days. The trial in this
 matter shall be continued to two week period commencing on August 9, 2021 at 9:00 a.m. Calendar
 call will be held on August 5, 2021 at 10;00 a.m.. Final Pretrial Conference is set for June 4, 2021
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 at 11:00 a.m. Discovery Deadline is March 31, 2021; and Motion Practice Deadline is April 5,
 2021. The Pretrial Stipulation is due on May 28, 2021.

       DONE AND ORDERED in Chambers at Miami, Florida, this 27th of March 2020.




                                                     _________________________________

                                                              JAMES LAWRENCE KING

                                                          UNITED STATES DISTRICT JUDGE

cc:    All counsel of record




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